43 F.3d 1466
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Everett W. HAUGHT, Petitioner,v.EASTERN ASSOCIATED COAL CORPORATION;  Director, Office ofWorkers' Compensation Programs, United StatesDepartment of Labor, Respondents.
    No. 93-1617.
    United States Court of Appeals, Fourth Circuit.
    Submitted Oct. 25, 1994.Decided Nov. 10, 1994.
    
      On Petition for Review of an Order of the Benefits Review Board.  (89-516-BLA)
      Everett W. Haught, petitioner Pro Se.  Marta Kusic, Staff Atty., Barry H. Joyner, U.S. Department of Labor, Washington, DC;  Mark Elliott Solomons, Laura Metcoff Klaus, Arter &amp; Hadden, Washington, DC, for respondents.
      Ben.Rev.Bd.
      AFFIRMED.
      Before WIDENER, HALL, and HAMILTON, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant seeks review of the Benefits Review Board's decision and order affirming the administrative law judge's denial of black lung benefits pursuant to 30 U.S.C.A. Secs. 901-945 (West 1986 &amp; Supp.1994).  Our review of the record discloses that the Board's decision is based upon substantial evidence and that this appeal is without merit.  Accordingly, we affirm on the reasoning of the Board.  Haught v. Director, Office of Workers' Compensation Programs, No. 89-516-BLA (B.R.B. Apr. 29, 1993).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    